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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION


PROGRESSIVE TECHNOLOGIES, INC.                                                 PLAINTIFF

v.                               CASE NO. 5:24-CV-5101

ADEPT PATRIOT SERVICES, LLC                                                 DEFENDANT


                              CASE MANAGEMENT ORDER


       A Case Management Hearing was conducted on August 22, 2024. After a review

of the parties’ Rule 26(f) Joint Report, and based on discussions with counsel during the

hearing, and pursuant to Rule 16(b) of the Federal Rules of Civil Procedure, IT IS HEREBY

ORDERED:

1.     TRIAL SET DURING THE COURT’S NOVEMBER 17, 2025 TRIAL TERM

       The trial of this matter is scheduled for a JURY TRIAL in FAYETTEVILLE,

ARKANSAS, at the call of the Court during a One Week Trial Term which begins on

NOVEMBER 17, 2025, at 9:00 a.m. The parties have indicated that the case will take five

(5) days to try. The case may be called up and tried at any point during the term; however,

a more precise starting date will be set as the trial term approaches. If for some reason

the case is “bumped” because the Court cannot accommodate all trials set for the term,

then the case will be re-set and tried during the “back-up” trial date which is set for the

week of DECEMBER 15, 2025, at 9:00 a.m.

       The case will be tried to an eight (8) person jury–unanimous verdict required.

Counsel are directed to report to the Fifth-floor Courtroom by no later than 8:30 a.m.

on the first day of trial unless otherwise notified.
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2.     FINAL PRE-TRIAL CONFERENCE

       A Final Pre-Trial Conference shall be conducted pursuant to the provisions of Rule

16(e) on NOVEMBER 7, 2025, beginning at 9:00 a.m.

3.     AMENDMENT OF PLEADINGS

       Leave to amend pleadings and/or to add or substitute parties shall be sought no

later than NOVEMBER 22, 2024.

4.     EXPERT DISCLOSURES

       The deadline to provide expert witness disclosures and written reports pursuant to

Rule 26(a)(2) is APRIL 24, 2025. The deadline to provide disclosures and reports of

rebuttal experts (i.e. whose testimony will be offered solely to contradict or rebut the expert

opinions offered by an opposing expert) is MAY 27, 2025.

5.     DISCOVERY

       The discovery deadline is JULY 22, 2025. The parties may conduct discovery

beyond this date if all parties are in agreement to do so. To avoid later misunderstandings,

such agreements should be reduced to a writing which describes the type, scope, and

length of the extended period of discovery. That said, the Court will not resolve any

disputes which may arise in the course of extended discovery.

       All discovery requests must be propounded sufficiently in advance of the discovery

deadline to allow for a timely response. Witnesses and exhibits not identified and

produced in response to Rule 26(a)(1) Initial Disclosures, and/or in response to subsequent

discovery requests, may not be used at trial except in extraordinary circumstances. The




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Court will not grant a continuance because a party does not have time in which to depose

a lay or expert witness.

6.      MOTION DEADLINES

        (a)   Summary Judgment. The deadline to file dispositive motions is JULY 29,

2025.

        (b)   Daubert. If applicable, Daubert and related expert disqualification motions

should be filed no later than JULY 29, 2025.

        (c)   Discovery Motions. Prior to filing a discovery motion the parties must (i)

engage in a substantive good faith effort to amicably resolve the dispute without court

intervention (to include at least one verbal discussion), and then, if necessary, (ii) the

parties must schedule a conference call with the Court to discuss the dispute. In the event

a discovery dispute cannot be informally resolved by the Court, then a formal motion must

be filed sufficiently in advance of the discovery deadline to allow for a proper response time

under the rules. The length of any such motions and supporting memorandum shall not

exceed ten (10) pages in length (excluding exhibits). A response to a discovery motion,

with the same page limitations, should be promptly filed.

        (d)   Motions in Limine must be filed on or before OCTOBER 24, 2025.

Responses must be filed within seven (7) days thereafter. Motions submitted after the

deadline may be denied solely on that ground. Briefs in Support of such motions and

responses shall not exceed three (3) pages per ruling sought, except on leave of Court for

good cause shown.




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7.     MEMORANDUM BRIEFS

       Page limits for discovery motions and liminal motions are noted above.

Memorandum briefs filed in support or in response to other types of motions must not

exceed twenty-five (25) pages in length, without leave of court and for good cause shown.

Over-length briefs filed without advance leave may be stricken sua sponte. Reply briefs

require leave of Court, except with respect to motions for summary judgment. Reply briefs

must not exceed seven (7) pages in length.

8.     SETTLEMENT CONFERENCE

       The parties are ordered to attend an early Settlement Conference in person with

Magistrate Judge Christy D. Comstock by no later than OCTOBER 31, 2024. The exact

date will be set by separate order. 1

9.     PRETRIAL DISCLOSURE SHEET

       Pursuant to the provisions of Rule 26(a)(3), the parties shall simultaneously file

Pretrial Disclosures on OCTOBER 10, 2025, in a form consistent with the outline

contained in Local Rule 26.2.

10.    DEPOSITIONS TO BE USED AT TRIAL PURSUANT TO RULE 322

       The proffering party must designate the pertinent portions of a deposition to be used

as evidence at trial by OCTOBER 10, 2025. The opposing party must then provide notice


       1
        By motion, for good cause shown, the parties may request to be excused from this
requirement. “Good cause” will be established by a statement that the posture of the case
is such that the parties believe settlement efforts would be futile and the parties intend to
proceed to trial as scheduled.
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       Depositions to be used solely for impeachment are not contemplated by the
requirements of this paragraph.

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of objections and/or counter-designations by OCTOBER 17, 2025. These designations

and objections should not be filed with the Court, but rather exchanged by the parties. The

parties shall then confer in good faith to resolve any objections to designations.

         Any unresolved objections shall be made by a joint written motion filed no later than

OCTOBER 24, 2025. Instructions for preparing the joint motion and the form to be used

are posted on the Court’s website at http://www.arwd.uscourts.gov/judge-brooks-forms.

Objections will be resolved during the Final Pre-Trial Conference.

11.      JURY INSTRUCTIONS

         The parties must confer in advance regarding proposed jury instructions in an

attempt to narrow areas of disagreement. The parties shall jointly submit a single agreed

set of proposed instructions (clearly marked “AGREED”) to Chambers on or before

OCTOBER 31, 2025. Proposed verdict forms should be submitted as well.                Counsel

should use model instructions whenever possible from the Eighth Circuit, AMI, or Federal

Jury Practice and Instructions (5th Edition), as applicable, and should note the source

and/or basis of the instruction at the end of each instruction.

         If the parties cannot agree to a particular instruction(s), the party requesting a

disputed instruction must submit it to the Court and to opposing counsel by the same date

Agreed Instructions are due.          Such instructions should be clearly marked as

“[Plaintiff’s/Defendant’s] DISPUTED Instruction No. ___.”           The legal basis for the

instruction and brief description of the parties’ disagreement shall be provided with the

instruction (either in the space below the form of the instruction or attached on a separate

page).



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       The parties should follow the same process to submit “agreed” and “disputed”

proposed verdict forms.     Agreed and disputed instructions/verdict forms should be

submitted electronically in WordPerfect or Word format to tlbinfo@arwd.uscourts.gov.

12.    STATEMENT OF THE CASE

       Each party must submit via email by OCTOBER 31, 2025 a concise non-

argumentative statement/overview of the case, no more than one double spaced page in

length, that it proposes the Court to read to the venire panel.

13.    STIPULATIONS

       The parties should stipulate in writing to the facts not in controversy and provide the

same to the Court via email by no later than OCTOBER 31, 2025. Stipulations will be

marked and received as a joint exhibit, and may be read/shown to the jury at an

appropriate time(s) during the trial. The parties are encouraged to use stipulations as a

means of establishing the chronology of significant events, and to otherwise narrow and

simplify fact issues submitted to the jury.

14.    WITNESS AND EXHIBIT LISTS

       Each party shall submit “final” witness and exhibit lists to the Court by no later than

OCTOBER 31, 2025. The lists should be in the format as posted on the Court’s website

at http://www.arwd.uscourts.gov/judge-brooks-forms. Witnesses shall be grouped together

under headings indicating whether they “will be called” or merely “may be called” to testify.

       Trial Exhibits must be identified, numbered, provided, and made available to

opposing counsel in advance of the deadline. Counsel must then review and confer for the

purpose of identifying any exhibits to which agreement or objections are contemplated.



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The final numbered exhibit list provided to the Court should therefore indicate—for each

applicable exhibit—whether opposing counsel intends to “agree” (subject to proponent

laying proper foundation) or “object” to its introduction. Prior to trial, the parties shall further

confer and identify which, if any, of the agreed exhibits may be stipulated into evidence in

mass at the beginning of the trial. Please promptly notify the Court via email as to which

exhibits will be received in this manner.

       Each party shall provide a notebook of its final proposed exhibits(numbered,

indexed, and tabbed) to Chambers by no later than NOVEMBER 7, 2025.

15.    DEADLINES

       The deadlines set forth above are firm. Extensions and/or continuances will not be

considered absent very compelling circumstances.

16.    SUMMARY TABLE AND FORMS

       A table summarizing the deadlines is attached. In the event of a discrepancy

between this Order and the summary table, the deadline set forth in the Order is

controlling.   The forms are available for download on the Court’s public website -

http://www.arwd.uscourts.gov/judge-brooks-forms.

17.    COMMUNICATION WITH COURT REGARDING TRIAL OR SETTLEMENT

       Settlements should be immediately reported to the Court.3 Please communicate any

late developing settlement or problems/issues (i.e. over the weekend prior to trial) to the

Courtroom Deputy, Sheri Craig, at (479) 695-4460 or tlbinfo@arwd.uscourts.gov. If notice


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        This is especially true when there are ripe motions pending. Prompt notification is
also of great help to the Court in the management of remaining cases set for a given trial
term.

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of settlement is received after 1:00 p.m. on NOVEMBER 14, 2025, the parties will be

assessed any costs associated with the Court’s inability to timely recall the jury panel from

reporting. The parties are further advised that the case will not be removed from the trial

docket until an order of dismissal has been entered.

       IT IS SO ORDERED this 6th day of September, 2024.


                                             /s/ Timothy L. Brooks
                                          TIMOTHY L. BROOKS
                                          UNITED STATES DISTRICT JUDGE




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                              DATES AND DEADLINES

                            HEARINGS AND TRIAL DATE
FINAL PRE-TRIAL CONFERENCE                                                        11/7/25
TRIAL DATE (One Week Trial Term beginning on)                                    11/17/25
“BACK-UP” TRIAL DATE                                                             12/15/25
                                    DISCOVERY
AMEND PLEADINGS/ADD OR SUBSTITUTE PARTIES                                        11/22/24
EXPERT WITNESS DISCLOSURES/REPORTS                                                4/24/25
REBUTTAL EXPERT WITNESS DISCLOSURES/REPORTS                                       5/27/25
DISCOVERY DEADLINE                                                                7/22/25
                                      MOTIONS
DISPOSITIVE MOTIONS                                                               7/29/25
DAUBERT AND RELATED MOTIONS REGARDING EXPERT OPINION                              7/29/25
TESTIMONY (if applicable)
                            SETTLEMENT CONFERENCE
EARLY SETTLEMENT CONFERENCE (to be separately scheduled no later                 10/31/24
than)
                            FINAL TRIAL PREPARATIONS
PRETRIAL DISCLOSURES (per format of Local Rule 26.2)                             10/10/25
MOTIONS IN LIMINE                                                                10/24/25
DEPOSITION DESIGNATIONS (exchanged)                                              10/10/25
DEPOSITION COUNTER-DESIGNATIONS (exchanged)                                      10/17/25
JOINT MOTION TO EXCLUDE DEPOSITION TESTIMONY                                     10/24/25
JURY INSTRUCTIONS (submitted to the Court via email)                             10/31/25
STATEMENT OF THE CASE (submitted to the Court via email)                         10/31/25
STIPULATIONS (submitted to the Court via email)                                  10/31/25
WITNESS AND EXHIBIT LISTS (submitted to the Court via email)                     10/31/25
EXHIBITS NOTEBOOK (INDEXED AND TABBED) TO CHAMBERS                                11/7/25




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